Case 3:06-cr-30166-DRH      Document 673 Filed 05/27/10       Page 1 of 2   Page ID
                                     #2338



                    IN THE UNITED STATES DISTRICT COURT
                   FOR THE SOUTHERN DISTRICT OF ILLINOIS


UNITED STATES OF AMERICA,

      Plaintiff,

v.

KEVIN WILLIAMS,

      Defendant.                                   Case No. 06-cr-30166-14-DRH



                                      ORDER


HERNDON, Chief Judge:


             Before the Court is the Government’s Motion to Dismiss Writ of

Execution (Doc. 672). Said writ was issued on February 4, 2010 against defendant

Kevin Williams (Doc. 670), commanding the Illinois State Treasurer to levy upon any

portion of the “Illinois State Treasurer’s Cashdash Unclaimed Monetary Property”

in which Williams has a substantial nonexempt interest, in order to satisfy Williams’

debt in the amount of $325.00 (Doc. 670). However, because it appears that the

State of Illinois is unable to determine whether Williams is the same person owed the

unclaimed money, the Government now seeks that the writ be dismissed with

prejudice.

             For good cause shown, said Motion (Doc. 672) is GRANTED. As such,



                                    Page 1 of 2
Case 3:06-cr-30166-DRH   Document 673 Filed 05/27/10     Page 2 of 2    Page ID
                                  #2339



the Writ of Execution (Doc. 670) against defendant Cora Williams is hereby

DISMISSED WITH PREJUDICE.

           IT IS SO ORDERED.

           Signed this 27th day of May, 2010.



                                          /s/ DavidRHer|do|
                                         Chief Judge
                                         United States District Court




                                 Page 2 of 2
